                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION


UNITED STATES OF AMERICA,                              )
                                                       )
                               Plaintiff,              )
                                                       )
                       v.                              )      No. 10-4052-02-CR-C-FJG
                                                       )
JAIME CERROS-PEREZ,                                    )
                                                       )
                               Defendants.             )

                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       Defendant Jaime Cerros-Perez, by consent, appeared before the undersigned on April 10,
2012, pursuant to Rule 11 of the Federal Rules of Criminal Procedure, Local Rule 72(c)(1)(j),
and 28 U.S.C. § 636, and has entered a plea of guilty to Count One of the second superseding
indictment filed on June 23, 2011. After cautioning and examining the defendant, under oath, in
accordance with the requirements of Rule 11, it was determined that the guilty plea was made
with full knowledge of the charge and the consequences of pleading guilty, was voluntary, and
that the offense to which the defendant has plead guilty is supported by a factual basis for each of
the essential elements of the offense.
       IT IS, THEREFORE, RECOMMENDED that the plea of guilty be accepted and that
defendant Jaime Cerros-Perez be adjudged guilty and have sentence imposed accordingly.
       Failure to file written objections to this Report and Recommendation within fourteen (14)
days from the date of its filing will bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).
       Dated this 11th day of April, 2012, at Jefferson City, Missouri.


                                                /s/   Matt J. Whitworth
                                                MATT J. WHITWORTH
                                                United States Magistrate Judge




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